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                  EXHIBIT D
          Case 2:18-cv-10787-DPH-EAS ECF No. 51-5 filed 02/18/19                           PageID.489         Page 2 of 3

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                                                                                R 90102459446850001 Z SOS/CSOD-RL
                                                                                   R 90102459446850001            122617 122617
                                                                                                         Z SOS/CSOD-RL   CO     CO
                                                                                  HARVEY AYERS
         SENT VIA USPS FIRST CLASS MAIL                                         HARVEY   AYERS DR
                                                                                  16021 EDMORE
                                                                                16021 EDMORE DR
                                                                                  DETROIT MI 48205
                                                                                DETROIT MI 48205


         USPS            T_SOS-GNRL             2           APRIL H AYERS                   90102459446850001



         12/26/2017                      02/13/2017          E




                                                                                9,500.00          17,901.46         0.00



         2,177.50     0.00



                              9,500.00          20,078.96          12/21/2017   580




                                                                                                        PA NMAC 38
NMAC SOS/CSOD-RL 02/06/2017 R1 NV68
NISSAN
   CaseMOTOR      ACCEPTANCE CORPORATION
           2:18-cv-10787-DPH-EAS  ECF No. 51-5 filedDATE   OF NOTICE:
                                                     02/18/19             DATE OF
                                                                    PageID.490       REPOSSESSION:
                                                                                  Page   3 of 3
P.O. Box 660366                                      12/26/2017               02/13/2017
Dallas, Texas 75266-0366                            Account Number:       90102459446850001
800.777.6700                                        Date of Contract:     12/11/2014
                                                    Year/Make/Model:      2015/NISSAN/ALTIMA
                                                    VIN:                  1N4AL3AP4FC147251
SENT VIA USPS FIRST CLASS MAIL                                                 THIS NOTICE IS BEING SENT TO SATISFY STATE LAW.
                                                           NOTICE:             BANKRUPTCY CUSTOM ERS – PLEASE REFER TO THE
                                                                               BANKRUPTCY STATEMENT AT THE END OF THIS NOTICE.

                                       CALCULATION OF SURPLUS OR DEFICIENCY
Debtor:                                                                 Co-Obligor:
HARVEY AYERS                                                            APRIL H AYERS
16021 EDMORE DR                                                         16021 EDMORE DR
DETROIT, MI 48205                                                       DETROIT, MI 48205


Subject: Retail Installment Contract (Agreement)
This is to inform you that the sale of the Motor Vehicle described above occurred on 12/21/2017. Under the provisions of applicable
law, the proceeds of that sale have been applied as follows:
1.     Aggregate unpaid balance of obligations secured by the Motor Vehicle                          $27,327.35
2.     Rebate of unearned finance charges as of 12/26/2017                                                 0.00
3.     Delinquency charges                                                                       +       $74.11
4.     Returned check (NSF) fees                                                                 +         0.00
5.     Net balance due (1 minus 2 plus 3 plus 4)                                                                      =    $27,401.46
6.     Gross proceeds from the sale of the Motor Vehicle                                                                     9,500.00
7.     Amount due after deducting proceeds of sale (5 minus 6)                                                        =    $17,901.46
8.     Costs of retaking and recovering vehicle and enforcement, including repossession
       vendors and legal expenses, if applicable                                                      $1,597.50
9.     Costs of processing, preparing, and selling the vehicle, including auction expenses, if
       applicable                                                                                +       580.00
10.    Costs (Other):                                                                            +         0.00
11.    Total Costs (8 through 10)                                                                =    $2,177.50       +      $2,177.50
12.    Credit: Rebate of unearned insurance premiums                                                      $0.00
13.    Credit: Rebate of unearned service/maintenance charges                                    +         0.00
14.    Credit: Physical damage insurance settlement                                              +         0.00
15.    Credit (Other):                                                                           +         0.00
16.    Total Credits (12 through 15)                                                             =        $0.00                 $0.00
17.    Balance due/surplus after sale (7 plus 11 minus 16)                                                            =    $20,078.96
[     ] Surplus balance to be remitted to you
[     ] Surplus balance paid to a subordinate party
[ X ] Deficiency balance for which you are liable and for which demand is hereby made                                      $20,078.96
If a deficiency balance for which you are liable is shown, please contact us at the number shown above concerning payment
arrangements. If applicable, future debits, credits, charges, interest, rebates, and expenses may affect the amount of the surplus or
deficiency. Contact us at the above telephone number or mailing address for additional information.
Note: If you financed an insurance premium on this contract, you may be entitled to a refund of any unearned portion of that premium.
Nissan Motor Acceptance Corporation is presently reviewing your account to determine whether you are entitled to any premium
refunds.
IMPORTANT NOTICE FOR BANKRUPT CUSTOMERS: IF YOUR OBLIGATION TO PAY ANY DEBT LISTED IN THIS
NOTICE HAS BEEN DISCHARGED IN BANKRUPTCY, OR IS PRESENTLY THE SUBJECT OF A BANKRUPTCY COURT
PROCEEDING, BANKRUPTCY COURT-APPROVED PLAN OR BANKRUPTCY COURT ORDER, WE ARE NOT, THROUGH
THIS DOCUMENT, ATTEMPTING TO COLLECT ANY AMOUNTS FROM YOU AS A PERSONAL LIABILITY, AND WILL
ONLY PURSUE ANY RIGHTS WE MAY HAVE IN THE BANKRUPTCY COURTS TO THE EXTENT ALLOWED BY LAW.
We are attempting to collect a debt and any information obtained will be used for that purpose.
NISSAN MOTOR ACCEPTANCE CORPORATION




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